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     In The United States Court of Federal Claims
                                             No. 12-863C

                                 (Filed: December 14, 2012)
                                         __________

  INSIGHT SYSTEMS CORP.,

                                Plaintiff,

                        v.

  THE UNITED STATES,

                               Defendant.
                                              __________

                                               ORDER
                                              __________

        On December 13, 2012, a telephonic status conference was held in this case.
Participating in the conference were Richard J. Webber, for plaintiff, and Matthew Paul Roche,
for defendant. As discussed during the conference, the court hereby orders the following:

       1.      On or before December 17, 2012, the parties shall file a proposed
               protective order; and

       2.      On or before December 19, 2012, the parties shall file a joint status report
               indicating how this case should proceed. Prior to filing that report,
               counsel shall confer with counsel in CenterScope Technologies, Inc. v.
               United States, No. 12-883C (Fed. Cl.).

       IT IS SO ORDERED.



                                                      s/ Francis M. Allegra
                                                      Francis M. Allegra
                                                      Judge
